         Case 1:04-cr-05244-JLT Document 99 Filed 07/09/07 Page 1 of 2


 1   Eric K. Fogderude, #070860
     FLETCHER & FOGDERUDE, INC.
 2   A Professional Corporation
     5412 North Palm Avenue, Suite 101
 3   Fresno, California 93704
     Telephone:(559) 431-9710
 4   Facsimile: (559) 431-4108
     E-mail: efogderude1@yahoo.com
 5
     Attorney for Defendant STEVEN PROUT
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )              CASE NO. CR-F-04-5244 OWW
                                   )
12             Plaintiff,          )            STIPULATION TO CONTINUE
                                   )            STATUS HEARING,
13   vs.                           )            AND ORDER THEREON
                                   )
14   STEVEN PROUT et al.           )
                                   )
15                                 )
               Defendants.         )            DATE:          July 9, 2007
16   ______________________________)            TIME:          9:00 a.m.
                                                JUDGE:         Oliver W. Wanger
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the status hearing in the above entitled matter now set for
21   July 9, 2007, may be continued to September 17, 2007 at 1:30 p.m.
22           The parties agree that time shall be excluded pursuant to 18
23   U.S.C. §§ 3161, subd.(h)(8)(A) and (B) in that the ends of justice
24   served by the continuance outweigh the best interest of the public
25   and the defendant in a speed trial, since the failure to grant
26   such a continuance would deny counsel for the defendant the
27   reasonable time necessary for effective preparation, taking into
28   account the exercise of due diligence.


     U.S. vs. Prout                                      Stipulation/Proposed Order
     Case No. 04-5244 OW W
          Case 1:04-cr-05244-JLT Document 99 Filed 07/09/07 Page 2 of 2


 1    DATED: July 5, 2007                 FLETCHER & FOGDERUDE, Inc.
 2
                                          /s/ Eric K. Fogderude
 3                                        ERIC K. FOGDERUDE
                                          Attorney for Defendant,
 4                                        STEVEN PROUT
 5
      DATED: July 5, 2007                  /s/ Katherine Hart
 6                                        KATHERINE HART,
                                          Attorney for Defendant
 7                                        CLAUDE A. STROHL aka CLYDE A. STROHL
 8
      Dated: July 5, 2007                 McGREGOR W. SCOTT
 9                                        United States Attorney
10
                                           /s/ Stanley Boone
11                                        STANLEY BOONE
                                          Assistant US Attorney
12
13                                         ORDER
14
              IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
15
      § 3161, subd.(h)(8)(A) and (B).         For the above stated reasons, the
16
      court finds that the ends of justice served by the dely outweigh
17
      the best interest of the public and the defendants in a speedy
18
      trial. Therefore, the court grants the stipulation that the Status
19
      hearing be continued to September 17, 2007 at 1:30 p.m.
20
21
22
     IT IS SO ORDERED.
23
   Dated: July 6, 2007                       /s/ Oliver W. Wanger
24 emm0d6                               UNITED STATES DISTRICT JUDGE
25
26
27
28


      U.S. vs. Prout                                     Stipulation/Proposed Order
      Case No. 04-5244 OW W                  2
